PROB 35                                                                 Report and Order Terminating Supervision
(Rev 3/93)                                                                       Prior to Original Expiration Date



                              UNITED STATES DISTRICT COURT
                                         FOR THE
                           EASTERN DISTRICT OF NORTH CAROLINA
                                    WESTERN DIVISION

UNITED STATES OF AMERICA

                    v.                                                    Crim. No. 5:12-CR-230-1F

AMBER BROWN

       On January 3, 2013, the above named was placed on probation for a period of 60 months.
The offender has complied with the rules and regulations of probation, and is no longer in need of
supervision. It is accordingly recommended that the offender be discharged from supervision.


Reviewed and approved,                                          Respectfully submitted,


Is/Michael C. Brittain                                          Is/Timothy L. Gupton
Michael C. Brittain                                             Timothy L. Gupton
Senior U.S. Probation Officer                                    U.S. Probation Officer


                                          ORDER OF COURT

       Pursuant to the above report, it is ordered that the offender be discharged from supervision
and that the proceedings in the case be terminated.

             Dated this._ _ _ _ _I..:..J_'" day of_O__.:~:..::..._=----------' 2015.



                                                         Ja(jes C. Fox
                                                         Senior U.S. District Judge




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